              Case
     Fill in this      23-18405-JKS
                  information                   Doc 1
                              to identify your case:        Filed 09/26/23 Entered 09/26/23 22:09:03                              Desc Main
                                                            Document      Page 1 of 5
     United States Bankruptcy Court for the:

     District of New JerseyDistrict of (State)
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     Case number (If known): _________________________ Chapter you are filing under:
                                                              Chapter 7
                                                             ✔ Chapter 11
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                                                              Chapter 12                                                                &KHFNLIWKLVLVDQ
                                                              Chapter 13                                                                   DPHQGHGILOLQJ




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QXPEHU LINQRZQ )RUPRUHLQIRUPDWLRQDVHSDUDWHGRFXPHQWInstructions for Bankruptcy Forms for Non-Individuals,LVDYDLODEOH



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                                                        Document      Page 2 of 5
               Nest Global Solutions, LLC
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              Nest Global Solutions, LLC
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                    CERTIFICATE OF MEMBER RESOLUTION OF

                          NEST GLOBAL SOLUTIONS, LLC
      The undersigned, sole members and managers of Nest Global Solutions, LLC, a
Delaware Limited Liability Company (the "Company"), hereby certifies as follows:

1.     The following resolution was duly and unanimously adopted by a the members and
       managers of the Company at a meeting duly called and held on September 22, 2023, at
       which the member and managers were present and acting throughout the meeting, and
       said resolutions have not been amended and are in full force and effect:

              RESOLVED, that it is in the best judgment of the members and managers that the
              Company commence a voluntary chapter 11 proceeding to reorganize its business
              and economic affairs. It is further

              RESOLVED, that the Company is authorized to open a debtor in possession bank
              account, if required, and take all other steps necessary to ensure that it fully
              complies with applicable state and federal in connection with its bankruptcy case.
              It is further

              RESOLVED, that the Company is authorized to retain Warren Law Group as its
              bankruptcy counsel and retain any other professionals necessary to prosecute its
              bankruptcy case.

2.      Appearing below are the names of the persons authorized by the foregoing resolution to
act on behalf of the Company, and appearing opposite their names are their positions and
specimens of their true and correct signatures:

       Name                         Position                              Signature

       Theodore K. Smith Sr.        Member/Manager/Chairman s/Thoedore K. Smith Sr.

       Michael Williams             Member/Manager/CEO            s/Michael Williams

       Lisa Marks Canty             Member/Manager/President s/Lisa Marks Canty


IN WITNESS WHEREOF, I have executed this certificate on the 22nd day of September, 2023.
I swear that the foregoing is accurate and true.

       Theodore K. Smith Sr.                                      s/Lisa Marks Canty
       Ted Smith, Chairman                                        Lisa Canty, President

       __________________
       Michael Williams, CEO
